                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  at CHATTANOOGA



 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:15-cr-23-PLR-SKL
 v.                                                 )
                                                    )
 KELLY NANCE                                        )



                                           ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the

 Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the thirteen

 count Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in

 Count One of the Indictment, that is of conspiracy to distribute and possess with intent to

 distribute a mixture and substance containing methamphetamine, in violation of 21 U.S.C.

 §§ 846 and 841(b)(1)(C); (3) adjudicate Defendant guilty of the lesser offense of the charge in

 Count One of the Indictment, that is of conspiracy to distribute and possess with intent to

 distribute a mixture and substance containing methamphetamine, in violation of 21 U.S.C.

 §§ 846 and 841(b)(1)(C); (4) defer a decision on whether to accept the amended plea agreement

 until sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter

 [Doc. 172]. Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation [Doc. 172] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:




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       (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the

             Indictment is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

             Indictment, that is of conspiracy to distribute and possess with intent to distribute

             a mixture and substance containing methamphetamine, in violation of 21 U.S.C.

             §§ 846 and 841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in

             Count One of the Indictment, that is of conspiracy to distribute and possess with

             intent to distribute a mixture and substance containing methamphetamine, in

             violation of 21 U.S.C. §§ 846 and 841(b)(1)(C);

       (4)   A decision on whether to accept the amended plea agreement is DEFERRED

             until sentencing; and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on November 2, 2015 at 10:00 a.m. [EASTERN] before

             the Honorable Pamela L. Reeves.

       IT SO ORDERED.

       ENTER:


                                                   ____________________________________
                                                   UNITED STATES DISTRICT JUDGE




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